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                                        U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007

                                                     March 16, 2018

BY ECF and BY E-MAIL

The Honorable Kimba M. Wood
United States District Court
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Steven Brown, 16 Cr. 436 (KMW)

Dear Judge Wood:

        The Government has conferred with its witnesses, and the Government can now confirm
that the new proposed trial date of Monday, April 16, 2018 does not pose any issues. In light of
the one-week adjournment of the trial date, the Government respectfully requests that its deadline
to provide exhibits and the witness list to the defendant also be adjourned by one week until March
26, 2018.

        Furthermore, the Government respectfully requests that the Court exclude time in the
interest of justice under 18 U.S.C. § 3161(h)(7)(A), from April 9, 2018 until April 16, 2018, in
order for defense counsel to continue to prepare for trial. Defense counsel consents to the
exclusion of time. A proposed order is annexed to this letter for the Court’s consideration.


                                                     Very truly yours,

                                                     GEOFFREY S. BERMAN
                                                     United States Attorney

                                             By:     /s
                                                     Katherine Reilly
                                                     Noah Solowiejczyk
                                                     Ryan Finkel
                                                     Assistant United States Attorneys
                                                     (212) 637-6521/2473/6612

cc:    Walter Mack, Esq. (by ECF and by e-mail)
